     Case 2:25-cv-04540    Document 1     Filed 05/20/25   Page 1 of 8 Page ID #:1


 1    Joanna Ardalan (Bar No. 285384)
      jardalan@onellp.com
 2    Evan Littman (Bar No. 358272)
 3    elittman@onellp.com
      ONE LLP
 4    23 Corporate Plaza, Suite 150-105
      Newport Beach, CA 92660
 5    Telephone: (310) 437-8665
      Facsimile: (310) 943-2085
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 7    Attorneys for Plaintiff,
      BackGrid USA, Inc.
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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
13
                                    WESTERN DIVISION
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15     BACKGRID USA, INC., a California           Case No.:     2:25-cv-4540
       corporation,
16                                                COMPLAINT FOR COPYRIGHT
                      Plaintiff,                  INFRINGEMENT (17 U.S.C. § 501)
17
18           v.                                   DEMAND FOR JURY TRIAL

19     MICAELA ERLANGER, an individual
       and DOES 1-10, inclusive,
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21                    Defendants.
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                                        COMPLAINT
     Case 2:25-cv-04540    Document 1      Filed 05/20/25    Page 2 of 8 Page ID #:2


 1          Plaintiff, BackGrid USA, Inc. (“BackGrid”), complains against Defendant,
 2    Micaela Erlanger (“Ms. Erlanger”), an individual, and Does 1-10 (collectively,
 3    “Defendants”) as follows:
 4                               JURISDICTION AND VENUE
 5          1.     This is a civil action against Defendants for acts of copyright
 6    infringement under the Copyright Act, 17 U.S.C. §§ 101 et seq. This Court has
 7    subject matter jurisdiction under 28 U.S.C. § 1331, 28 U.S.C. § 1332, 17 U.S.C. §
 8    501(a), and 28 U.S.C. § 1338(a) and (b).
 9          2.     Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c) and
10    28 U.S.C. § 1400(a) in that the claim arises in this judicial district, and, on
11    information and belief, the Defendant and its agents reside and may be found in
12    this judicial district, and the injury suffered by Plaintiff took place in this judicial
13    district. Defendants are subject to the general and specific personal jurisdiction of
14    this Court because of their contacts with the State of California. Specifically,
15    Defendant Micaela Erlanger’s press outreach, social media accounts, and website
16    are directed to and consumed by Southern California readers. Moreover, Ms.
17    Erlanger regularly styles celebrities in Los Angeles for Hollywood events, such as
18    the Oscars, the Critics’ Choice Awards, the Emmys, and many more. Ms.
19    Erlanger’s use of the Celebrity Photos directly target potential celebrity clients.
20    According to her own website, Ms. Erlanger has been ranked as one of The
21    Hollywood Reporter’s “Most Powerful Stylists.” She also works on Southern
22    California-based shows such as “Entertainment Tonight” and “Extra.”
23                                           PARTIES
24          3.     Plaintiff BackGrid USA, Inc. is a California corporation with its
25    principal place of business located in Los Angeles, California.
26          4.     Defendant Micaela Erlanger is an individual who resides in New
27    York, New York.
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                                           COMPLAINT
     Case 2:25-cv-04540    Document 1     Filed 05/20/25   Page 3 of 8 Page ID #:3



 1          5.     The true names or capacities, whether individual, corporate or
 2    otherwise, of the Defendants named herein as Does 1 through 10, inclusive, are
 3    unknown to Plaintiff, who therefore sues said Defendants by such fictitious names.
 4    Plaintiff will ask leave of Court to amend this Complaint and insert the true names
 5    and capacities of said Defendants when the same have been ascertained.
 6                         FACTS COMMON TO ALL COUNTS
 7                  BackGrid and the Photographs that Frame This Dispute
 8          6.     BackGrid owns and operates one of Hollywood’s largest celebrity-
 9    photograph agencies that has earned a reputation of regularly breaking scoops on
10    sought after celebrity news. It owns the intellectual property rights, including the
11    copyrights, to celebrity photographs that have been licensed to numerous top-tier
12    outlets, such as TMZ, Entertainment Tonight, New York Post, People Magazine,
13    Huffington Post, the Daily Mail, as well as many television stations, newspapers
14    and other prominent media outlets throughout the world. Each license has been
15    granted for valuable consideration, up to hundreds of thousands of dollars.
16          7.     Among many other in-demand photographs, BackGrid owns coveted
17    photographs of celebrities, including Lupita Nyong’o (hereinafter the “Nyong’o
18    Photographs”). All rights, title and interest in the Nyong’o Photographs (the
19    photographs at issue in this case), including but not limited to the copyrights
20    thereon, are owned by BackGrid.
21          8.     BackGrid filed for copyright registration of the Nyong’o Photographs
22    within 90 days of their first publication with the United States Copyright Office.
23    See VA0002336527.
24                        Defendant and Her Willful Infringing Activity
25          9.     Defendant Micaela Erlanger is an author, fashion icon, entrepreneur,
26    brand partner, and high-profile celebrity stylist. According to her website, she
27    regularly works with A-list celebrities such as “Meryl Streep, Lupita Nyong’o,
28    Common, Diane Kruger, Sigourney Weaver, Lucy Hale, Amanda Hearst, and
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                                   COMPLAINT
     Case 2:25-cv-04540   Document 1      Filed 05/20/25   Page 4 of 8 Page ID #:4



 1    Shailene Woodley.” Ms. Erlanger operates and controls the Instagram account at
 2    issue in this dispute, located at @micaela (the “Instagram Account”).
 3          10.    Ms. Erlanger violated federal law by willfully infringing BackGrid’s
 4    copyrights to at least 2 photographs on, at least, the Instagram Account. Attached
 5    hereto as Exhibit A and incorporated herein by reference are true and correct
 6    screenshots of the Instagram Account, including screenshots of the 2 infringed
 7    photographs at issue in this lawsuit.
 8          11.    Additionally, Ms. Erlanger induced, caused, or materially contributed
 9    to the reproduction, distribution and public display of the Nyong’o Photographs,
10    and derivatives thereof, all while knowing or having reason to know of the
11    infringement on her accounts were without permission, consent, or license. By
12    uploading the Nyong’o Photographs to the Instagram Account, Ms. Erlanger
13    encourages her fans to “share” the photographs, thus, causing others to also
14    willfully infringe and multiplying the harm to BackGrid.
15          12.    On information and belief, Ms. Erlanger operates and controls her
16    Instagram Account at all times relevant to this dispute and financially benefits
17    from the infringement of the Nyong’o Photographs displayed thereto. On
18    information and belief, Ms. Erlanger has driven significant traffic to her Instagram
19    Account in large part due to the presence of the sought after and searched-for
20    Nyong’o Photographs that frame this dispute. All of this traffic translates into
21    substantial ill-gotten commercial advantage and brand awareness as a direct
22    consequence of her infringing actions.
23          13.    BackGrid attempted to resolve this lawsuit with Ms. Erlanger prior to
24    filing this action. However, BackGrid made exhaustive efforts to communicate
25    with Ms. Erlanger through counsel and discuss a resolution in good faith, Ms.
26    Erlanger stopped responding to BackGrid. Ms. Erlanger’s refusal to substantively
27    engage with BackGrid left BackGrid with no other choice but to file this lawsuit.
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                                         COMPLAINT
     Case 2:25-cv-04540     Document 1    Filed 05/20/25   Page 5 of 8 Page ID #:5



 1                              FIRST CLAIM FOR RELIEF
 2                        (Copyright Infringement, 17 U.S.C. § 501)
 3          14.    BackGrid incorporates hereby reference the allegations in paragraphs
 4    1 through 13 above.
 5          15.    BackGrid is the owner of all rights, title, and interest in the copyrights
 6    of the Nyong’o Photographs that frame this dispute, which substantially consist of
 7    material wholly original and which are copyrightable subject matter under the laws
 8    of the United States.
 9          16.    BackGrid filed for copyright registration of the Nyong’o Photographs
10    within 90 days of their first publication with the United States Copyright Office.
11          17.    Defendant has directly, vicariously, contributorily and/or by
12    inducement willfully infringed BackGrid’s copyrights by reproducing, displaying,
13    distributing, and utilizing the Nyong’o Photographs for purposes of trade in
14    violation of 17 U.S.C. § 501 et seq.
15          18.    All of the Defendant’s acts are and were performed without
16    permission, license, or consent of BackGrid.
17          19.    BackGrid has identified at least 2 instances of infringement by way of
18    unlawful reproduction and display of BackGrid’s photographs (as well as the
19    unlawful facilitation of other’s reproduction of its photographs).
20          20.    As a result of the acts of Defendant alleged herein, BackGrid has
21    suffered substantial economic damage.
22          21.    Defendant has willfully infringed, and, unless enjoined, will continue
23    to infringe BackGrid’s copyrights by knowingly reproducing, displaying,
24    distributing, and utilizing its photographs by, among other things, virtue of Ms.
25    Erlanger’s encouragement of the infringement and financial benefit she receives
26    from BackGrid’s copyrights.
27          22.    Ms. Erlanger is well aware of the value of intellectual property. She
28    has availed herself of the protections of United States trademark law. Ms. Erlanger
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                                          COMPLAINT
     Case 2:25-cv-04540    Document 1     Filed 05/20/25    Page 6 of 8 Page ID #:6



 1    filed multiple trademark applications with the United States Patent and Trademark
 2    Office (“USPTO”). See serial numbers 86317484, 88728289, 86321480,
 3    86363177, 88119003. Ms. Erlanger has therefore exhibited a sophisticated
 4    understanding of how to use the strictures of intellectual property law to protect her
 5    business assets.
 6          23.    The wrongful acts of Defendant have caused, and are causing, injury
 7    to BackGrid, which cannot be accurately computed, and unless this Court restrains
 8    Defendant from further commission of said acts, BackGrid will suffer irreparable
 9    injury, for all of which it is without an adequate remedy at law. Accordingly,
10    BackGrid seeks a declaration that Defendant is infringing BackGrid’s copyrights
11    and an order under 17 U.S.C. § 502 enjoining Defendant from any further
12    infringement.
13          24.    The above-documented infringements alone would entitle BackGrid
14    to a potential award of up to $300,000 in statutory damages for the at-least 2
15    infringed photographs, in addition to its attorneys’ fees.
16                                  PRAYER FOR RELIEF
17          WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
18          1.     That the Defendant, and her officers, agents, servants, employees, and
19    representatives, and all persons in active concert or participation with them, be
20    permanently enjoined from copying, reproducing, displaying, promoting,
21    advertising, distributing, or selling, or any other form of dealing or transaction in,
22    any and all Photos of BackGrid;
23          2.     That an accounting be made for all profits, income, receipts or other
24    benefit derived by Defendant from the unlawful reproduction, copying, display,
25    promotion, distribution, or sale of products and services, or other media, either
26    now known or hereafter devised, that improperly or unlawfully infringes upon
27    Plaintiff’s copyrights pursuant to 17 U.S.C. § 504 (a)(1) & (b);
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                                         COMPLAINT
     Case 2:25-cv-04540     Document 1     Filed 05/20/25   Page 7 of 8 Page ID #:7



 1           3.      For actual damages and disgorgement of all profits derived by
 2    Defendant from her acts of copyright infringement and for all damages suffered by
 3    it by reasons of Defendant’s acts, under 17 U.S.C. § 504 (a)(1) & (b);
 4           5.      For statutory damages for copyright infringement, including willful
 5    infringement, in accordance with 17 U.S.C. § 504(a)(2) & (c);
 6           6.      For reasonable attorneys’ fees incurred herein pursuant to 17 U.S.C. §
 7    505;
 8           7.      For costs and interest pursuant to 17 U.S.C. § 504 (a)(1) & (b), 17
 9    U.S.C. § 505;
10           8.      For any such other and further relief as the Court may deem just and
11    appropriate.
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13    Dated: May 20, 2025                      ONE LLP
14                                             By: /s/ Joanna Ardalan
                                                   Joanna Ardalan
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                                                   Evan Littman
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                                                   Attorneys for Plaintiff,
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                                                   BackGrid USA, Inc.
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                                          COMPLAINT
     Case 2:25-cv-04540   Document 1    Filed 05/20/25   Page 8 of 8 Page ID #:8


 1                             DEMAND FOR JURY TRIAL
 2          Plaintiff BackGrid USA, Inc., hereby demands trial by jury of all issues so
 3    triable under the law.
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 5    Dated: May 20, 2025                   ONE LLP
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 7                                          By: /s/ Joanna Ardalan
                                                Joanna Ardalan
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                                                Evan Littman
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                                                Attorneys for Plaintiff,
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                                                BackGrid USA, Inc.
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